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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                       EASTERN DIVISION

     DAVID OSADA AND KIMBERLY                              )
     HOVANEC,                                              )
                                                           )
                    Plaintiffs,                            )       CaseNo.   ll   C2856
                                                           )
            v.                                             )       Hon. Harry D. Leinenweber
                                                           )
     EXPERIAN INFORMATION                                  )
     SOLUTIONS,INC.                                        )
                                                           )       JURY DEMAND
                    Defendant.                             )


                          FINAL JUDGMENT AND ORDER OT DISMISSAL

            This matter, having come before the Court on Plaintiffs' Motion for Final Approval of

     the proposed class action settlement with Defendant Experian Information Solutions, Inc.

     ("Experian"); the Court having considered all papers filed and arguments made with respect to

     the settlement, and the Court, being fully advised in the premises, finds that:

            Notice to the Settlement Class required by Rule 23(e) of the Federal Rules of Civil

     Procedure has been provided in accordance with the Court's Preliminary Approval Order, and

     such Notice by mail has been given in an adequate and suffrcient manner; constitutes the best

     notice practicable under the circumstances; and satisfies Rule 23(e) and due process.

            The Defendant has timely filed notification of this settlement with the appropriate federal

     officials pursuant to the Class Action Fairness Act of 2005 ("CAFA"),28 U.S.C. $ 1715. The

     Court has reviewed such notification and accompanying materials, and finds that the Defendant's

     notification complies fully with the applicable requirements of CAFA.

            The Settlement Agreement was arrived at as a result of arms-length negotiations

     conducted in good faith by counsel for the parties, and is supported by the Class Representatives.
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        The settlement as set forth in the Settlement Agreement is fair, reasonable and adequate

to the Settlement Class members in light of the complexity, expense and duration of litigation

and the risks involved      in establishing liability,   damages and   in maintaining the class action

through hial and appeal.

        The relief provided under the settlement constitutes fair value given in exchange for the

releases of claims arising under    t5 U.S.C. $l68li(a)(6xBxiii) only against the Released     Parties,

as those terms are defined   in the Settlement Agreement.

        The persons listed on Exhibit       A   hereto have validly excluded themselves from the

Settlement Class in accordance with the provisions of the Preliminary Approval Order.

        The parties and each Settlement Class member have irrevocably submitted to                  the

exclusive jurisdiction of this Court for any suit, action, proceeding or dispute arising out of the

Settlement Agreement.

       It is in the best interests of the parties and the Settlement Class members and consistent

with principles of judicial economy that any dispute between any Settlement Class member

(including any dispute as to whether any person is a Settlement Class member) and any Released

Party which in any way relates to the applicability or scope of the Settlement Agreement or the

Final Judgment and Order of Dismissal should be presented exclusively to this Court for

resolution by this Court.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

       This Order shall apply to Class A (One Year letter), which is defined as: "All persons

from whom      (l)   Experian received an identity theft report and written request          to   block

information in that person's consumer report alleged to result from the identity theft; and (2) in

response   to which Experian, between April 28,2009 and May 18, 2011, sent a letter stating at



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least in part: 'We are unable to honor your request. Our records indicate that the police report

we have on file is more than a year   old. Due to your ongoing fraud situation, you will   need to

submit a neWamended police report, obtained within the past year"' and Class B (Does Not

Meet the Guidelines letter), which is defined as: "All persons to whom Experian sent a letter

between April 28,2009 and May        18,20ll   stating at least inpart: 'We are responding to your

request that information   in your personal credit report be blocked due to alleged fraud.     The

identity theft report that you sent us does not meet the guidelines established by the federal Fair

Credit Reporting Act; therefore we are unable to honor your request to block information.

However,   if   you provided specific information, we are investigating the information you

questioned with the sources."'

       The Settlement Agreement submitted by the parties, specifically including Experian's

agreement to refrain for a period of trvo (2) years from the practices challenged by Plaintiffs in

this case, is finally approved pursuant to Rule 23(e) of the Federal Rules of Civil Procedure    as

fair, reasonable and adequate and in the best interests of the Settlement Class and the parties are

directed to consummate the Agreement in accordance with its terms.

       This action is hereby dismissed on the merits, with prejudice and without costs.

       As agreed by the parties in the Settlement Agreement, upon the Effective Date, Experian

and its present or former officers, directors, employees, attorneys, administators, successors,

assigns, subsidiaries, partners, sister corporations, parents, divisions, and predecessors.

(collectively, the "Released Parties"), shall be released from all legal or equitable claims for

statutory and punitive damages (arising on or before the Effective Date) that the Named

Plaintiffs and Settlement Class Members had based on any violation by any of the Released

Parties of Section   l68lc-2 of the federal Fair Credit Reporting Act and/or any federal or state
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law counterpart, including, but not limited to, 12 C.F.R. 5 1022.3. Named Plaintiffs for

themselves, their heirs, executors, administrators, and successors and assigns, hereby release and

forever discharge the Released Parties, none of whom admit any liability but all expressly deny

liability, from any and all claims, demands,    damages, actions, causes    of action or suits of    any

kind or nature, known or unknown, now existing. Further, upon the Effective Date, Experian,

for itself and on behalf of the      Released Parties, shall release and forever discharge the

Representative Plaintiffs, the Settlement Class, and their administators, heirs, agents, insurance

carriers, successors, and assigns, from any and all causes of action, claims, and demands of any

nature whatsoever, asserted or unasserted, arising out of, or relating in any way to, the instifution,

prosecution, or resolution of the Lawsuit.

        Without affecting the finality of this judgment, the Court hereby reserves and retains

jurisdiction over this settlement, including the administration and consummation               of    the

sefflement. In addition, without affecting the finality of this judgment, the Court retains

exclusive jurisdiction over Experian and each member         of the Settlement Class for any        suit,

action, proceeding or dispute arising out of or relating to this Order, the Settlement Agreement or

the applicability of the Settlement Agreement. Without limiting the generality of the foregoing,

any dispute concerning the Settlement Agreement, including, but not limited to, any suit, action,

arbitation or other proceeding by a Settlement Class member in which the provisions of the

Settlement Agreement are asserted as a defense in whole or in part to any claim or cause of

action or otherwise raised as an objection, shall constitute a suit, action or proceeding arising out

of or relating to this Order. Solely for purposes of such suit, action or proceeding, to the fullest

extent possible under applicable law, the parties hereto and all Settlement Class members are

hereby deemed to have inevocably waived and agreed not to assert, by way of motion, as a
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defense or otherwise,   &y   claim or objection that they are not subject to the jurisdiction of this

Court, or that this Court is, in any way, an improper venue or an inconvenient forum.

        Upon consideration of Class Counsel's application for fees and expenses, the Court

awards $950,000 in attorney fees and $26, 987.93 for reasonable expenses and finds such an

award is fair and reasonable for fees and expenses.

        Upon consideration of the application for an individual settlement award,              Class

Representative David Osada is awarded the sum of twenty thousand dollars ($20,000.00) and

Class Representative Kimberly Hovanec is awarded the sum of ten thousand dollars ($10,000.00)

in consideration for their individual claims against the Defendant and for the valuable service

they have performed for and on behalf of the Settlement Class.

        The Court finds, pursuant to Rule 5a@) of the Federal Rules of Civil Procedure, that

there is no just reason for delay, and directs the clerk to enter      fii\t   j,rag-errt.
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